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                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

                                                     §
   In re:                                            §       Chapter 7
                                                     §
   ASTRALABS, INC.                                   §       Case No. 23-10164-SMR
     Debtor                                          §
                                                     §

    LIMITED OBJECTION TO APPLICATION TO EMPLOY REID, COLLINS & TSAI,
                   LLP AS SPECIAL LITIGATION COUNSEL

            COME NOW Thomas Dolezal, Matthew Kelly, Hasan Ugur Koyluoglu and Casey

     Melcher and file this Limited Objection to Application to Employ Reid, Collins & Tsai, LLP

     as Special Counsel and would show as follows:

            1.    The Trustee has filed an application to employ Reid, Collins & Tsai, LLP to pursue

  claims against the Debtor’s directors and officers. The proposed application provides for a

  contingent fee of 45% as well as reimbursement of expenses and 9% interest on costs advanced.

            2.    Objecting Parties do not dispute the qualifications of the firm to serve as Special

  Counsel. However, they believe that a 45% contingency fee is above market. In the experience of

  Objectors’ Counsel, a fee of 33% or 40% in the event of an appeal is market. In the case of a large

  potential recovery or a case where liability is clear and there is insurance coverage, parties may

  negotiate a rate below 33%. Once a contingency fee is approved, it cannot be re-examined except
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  under circumstances which could not be anticipated. Therefore, Objecting Parties request that the

  Court condition approval of the application upon a market rate.

                                                Respectfully submitted,

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                                                By /s/ Stephen Sather
                                                 Stephen Sather
                                                 State Bar No 17657520
                                                 ATTORNEY FOR OBJECTING PARTIES



                                    CERTIFICATE OF SERVICE

           I certify that a copy of the foregoing was served by electronic mail transmission or first
  class mail to the following parties by on July 21, 2023:

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                                              /s/Stephen W. Sather
                                              Stephen W. Sather




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